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5    Attorney for Defendant
     VICTOR SOLANO
6
7
8                                  IN THE UNITED STATES DISTRICT COURT
9                                FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )               NO. 1:05-0102 OWW
                                           )
12                     Plaintiff,          )               STIPULATION TO CONTINUE STATUS
                                           )               CONFERENCE HEARING; AND ORDER
13         v.                              )               THEREON
                                           )
14   SANH CHAN THAI, etc., et al.,         )               Date: February 14, 2006
                                           )               Time: 9:00 a.m.
15                     Defendants.         )               Judge: Hon. Oliver W. Wanger
     _____________________________________ )
16
17          IT IS HEREBY STIPULATED by and between the parties hereto and through their respective
18   attorney of record herein, that the Status Conference Hearing scheduled for February 13, 2006 is hereby
19   continued to February 14, 2006 at 9:00 a.m.
20          The parties agree that the delay resulting from the continuance shall be excluded in the interests of
21   justice, including but not limited to, the need for the period of time set forth herein for effective defense
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23   ///
24   ///
25   ///
26   ///
27   ///
28   ///
               Case 1:05-cr-00102-OWW Document 43 Filed 02/14/06 Page 2 of 2


1    preparation pursuant to 18 U.S.C. §§ 3161(h)(8)(A) and 3161(h)(B)(iv).
2            DATED: February 10, 2006                          MCGREGOR W. SCOTT
                                                               United States Attorney
3
4
                                                               /s/ Marlon Cobar
5                                                              MARLON COBAR
                                                               Assistant U.S. Attorney
6                                                              Attorney for Plaintiff
7
8            DATED: February 10, 2006                          DANIEL J. BRODERICK
                                                               Acting Federal Defender
9
10
                                                               /s/ Mark A. Lizárraga
11                                                             MARK A. LIZÁRRAGA
                                                               Assistant Federal Defender
12                                                             Attorney for Defendant
                                                               VICTOR SOLANO
13
14                                                 ORDER
15           IT IS SO ORDERED. Time is excluded in the interests of justice pursuant to 18 U.S.C. §§
16   3161(h)(8)(A) and 3161(h)(B)(iv).
17           DATED: ___Feb. 10________, 2005
                                                        /s/ OLIVER W. WANGER
18                                                      ______________________________
                                                        OLIVER W. WANGER
19                                                      U.S. District Court Judge for the
                                                        Eastern District of California
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     Stipulation to Continue Status Conference          2
